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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                        IN THE UNITED STATES DISTRICT COURT                            March 13, 2019
                                                                                     David J. Bradley, Clerk
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ROBERT EDGAR, individually and on              §
behalf of all others similarly situated,       §
                                               §
               Plaintiff,                      §
                                               §
VS.                                            §     CIVIL ACTION NO. H-17-1372
                                               §
ANADARKO PETROLEUM                             §
CORPORATION, et al.,                           §
                                               §
               Defendants.                     §

                                   ORDER OF DISMISSAL

       For the reasons stated in the court’s Memorandum and Opinion of this date, the plaintiff’s

second amended complaint is dismissed, with prejudice and without leave to amend.

               SIGNED on March 13, 2019, at Houston, Texas.


                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      Chief United States District Judge
